                                                                              Case:13-19032-MER Doc#:1 Filed:05/28/13                                              Entered:05/28/13 09:25:06 Page1 of 14
                                                                     B1 (Official Form 1) (04/13)
                                                                                                           United States Bankruptcy Court
                                                                                                                 District of Colorado                                                                                 Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Evanson, Terry Lee                                                                      Evanson, Lynette Pearce
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     9483                                                 (if more than one, state all):     5531
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      10175 S Oneida St                                                                       10175 S Oneida St
                                                                      Littleton, CO                                                                           Littleton, CO
                                                                                                                             ZIPCODE 80124-9608                                                                              ZIPCODE 80124-9608
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Douglas                                                                                 Douglas
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                             Case:13-19032-MER Doc#:1 Filed:05/28/13                                      Entered:05/28/13 09:25:06 Page2 of 14
                                                                     B1 (Official Form 1) (04/13)                                                                                                                           Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Evanson, Terry Lee & Evanson, Lynette Pearce

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      Advantedge Insurance Group, LLC                                                13-10006 MER                              1/2/2013
                                                                      District:                                                                      Relationship:                             Judge:
                                                                      Colorado                                                                       Business                                  Michael E. Romero

                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                              Case:13-19032-MER Doc#:1 Filed:05/28/13                                            Entered:05/28/13 09:25:06 Page3 of 14
                                                                     B1 (Official Form 1) (04/13)                                                                                                                                                   Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Evanson, Terry Lee & Evanson, Lynette Pearce

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Terry Lee Evanson                                                                  Signature of Foreign Representative
                                                                          Signature of Debtor                                  Terry Lee Evanson
                                                                      X   /s/ Lynette Pearce Evanson                                                             Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                      Lynette Pearce Evanson
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 28, 2013
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Jeffrey A. Weinman                                                            preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Jeffrey A. Weinman 7605                                                           110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Weinman & Associates, P.C.                                                        pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          730 17th Street Suite 240                                                         chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Denver, CO 80202                                                                  notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                          jweinman@epitrustee.com                                                           section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 28, 2013
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                              Case:13-19032-MER Doc#:1 Filed:05/28/13                            Entered:05/28/13 09:25:06 Page4 of 14
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                           Case No.
                                                                     Evanson, Terry Lee                                                                               Chapter 11
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Terry Lee Evanson
                                                                     Date: May 28, 2013
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                                                Certificate Number: 06531-CO-CC-020966799


                                                              06531-CO-CC-020966799




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on May 14, 2013, at 10:08 o'clock AM CDT, Terry L Evanson
 received from Allen Credit and Debt Counseling Agency, an agency approved
 pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of
 Colorado, an individual [or group] briefing that complied with the provisions of
 11 U.S.C. §§ 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   May 14, 2013                           By:      /s/Arthur Arroyo


                                                Name: Arthur Arroyo


                                                Title:   Credit Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                                                              Case:13-19032-MER Doc#:1 Filed:05/28/13                            Entered:05/28/13 09:25:06 Page6 of 14
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                           Case No.
                                                                     Evanson, Lynette Pearce                                                                          Chapter 11
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Lynette Pearce Evanson
                                                                     Date: May 28, 2013
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                                                Certificate Number: 06531-CO-CC-020966800


                                                              06531-CO-CC-020966800




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on May 14, 2013, at 10:08 o'clock AM CDT, Lynette P Evanson
 received from Allen Credit and Debt Counseling Agency, an agency approved
 pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of
 Colorado, an individual [or group] briefing that complied with the provisions of
 11 U.S.C. §§ 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   May 14, 2013                           By:      /s/Arthur Arroyo


                                                Name: Arthur Arroyo


                                                Title:   Credit Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                                                            Case:13-19032-MER Doc#:1 Filed:05/28/13                       Entered:05/28/13 09:25:06 Page8 of 14

                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Evanson, Terry Lee & Evanson, Lynette Pearce                                            Chapter 11
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 28, 2013                     Signature: /s/ Terry Lee Evanson
                                                                                                                        Terry Lee Evanson                                                        Debtor



                                                                     Date: May 28, 2013                     Signature: /s/ Lynette Pearce Evanson
                                                                                                                        Lynette Pearce Evanson                                       Joint Debtor, if any
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Advantedge Business Group, LLC
9777 Pyramid Ct Ste 220
Englewood, CO 80112-6046



Allied Interstate
3000 Corporate Exchange Dr
Columbus, OH 43231-7689



American Express
PO Box 297879
Ft Lauderdale, FL     33329-7879



American Express
PO Box 297879
Fort Lauderdale, FL     33329-7879



American Express
PO Box 650448
Dallas, TX 75265-0448



Bank Of America
PO Box 851001
Dallas, TX 75285-1001



Castle Rock Security
400 W Division St
Syracuse, NY 13204-1438



Chase
Cardmember Service
PO Box 94014
Palatine, IL 60094-4014
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 Citi
 PO Box 6077
 Sioux Falls, SD    57117-6077



 Discover
 PO Box 29033
 Phoenix, AZ 85038-9033



 Hill Property
 PO Box 4389
 Taber, Alberta
 Canada,



 Home Depot
 Processing Center
 Des Moines, IA 50364-0500



 Houslanger & Associates, PLLC
 372 New York Ave
 Huntington, NY 11743-3311



 Internal Revenue Service
 MS 5004
 1999 Broadway Ste 511
 Denver, CO 80202-3025



 Lowes
 PO Box 530954
 Atlanta, GA 30353-0954



 NCO Financial Systems, Inc.
 355 Union Blvd Ste 350
 Lakewood, CO 80228-1528
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 North Shore Agency
 4000 E 5th Ave
 Columbus, OH 43219-1811



 Provo Dental
 1355 N University Ave Ste 330
 Provo, UT 84604-2721



 Red Rocks Credit Union
 9325 Dorchester St Ste 200
 Highlands Ranch, CO 80129-2519



 Sprint
 PO Box 4191
 Carol Stream, IL    60197-4191



 Sprint
 6391 Sprint Parkway
 Overland Park, KS 66251-6100



 State Of Colorado
 1375 Sherman St
 Denver, CO 80203-2246



 U.S. Bank
 C/O Law Office Of David A. Bauer, P.C.
 2594 S Lewis Way Unit A
 Lakewood, CO 80227-2839



 US Bank
 PO Box 790401
 Saint Louis, MO    63179-0401
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 Wells Fargo
 PO Box 30097
 Los Angeles, CA    90030-0097



 Wells Fargo
 PO Box 5247
 Denver, CO 80217-5247



 Wells Fargo Card Services
 PO Box 30086
 Los Angeles, CA 90030-0086



 Westcore Pyramid LP
 PO Box 748175
 Los Angeles, CA 90074-8175
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                        Local Bankruptcy Form 1007-6.1

                                   United States Bankruptcy Court
                                                District of Colorado


     In re     Evanson, Terry Lee & Evanson, Lynette Pearce                , Case No.
                       Debtor                                                Chapter    11


                           STATEMENT UNDER PENALTY OF PERJURY
                               CONCERNING PAYMENT ADVICES

       I*, Evanson, Terry Lee                          , state as follows:

       I did not file with the court copies of some or all payment advices or other evidence of payment
   received within 60 days before the date of the filing of the petition from any employer because:

   Check applicable boxes:

         I was not employed during the period immediately preceding the filing of the
       above-referenced case,            (insert dates that you were not employed );

          I was employed during the period immediately preceding the filing of the above referenced
       case but did not receive any payment advices or other evidence of payment from my employer
       within 60 days before the date of the filing of the petition;

             I am self-employed and do not receive any evidence of payment from an employer;

             Other (please provide explanation):                                                 .

   I declare under penalty of perjury that the foregoing statement is true and correct

     Dated: May 24, 2013                  By:        /s/ Terry Lee Evanson
                                                     Signature of debtor
                                                     Terry Lee Evanson
                                                     Printed name of debtor
                                                                              10175 S Oneida St
                                                                              Littleton, CO 80124-9608
                                                     Home Address
                                                     Telephone number
                                                     Facsimile number
                                                     E-mail address

   *A separate form must be signed for each debtor
Case:13-19032-MER Doc#:1 Filed:05/28/13 Entered:05/28/13 09:25:06 Page14 of 14
                        Local Bankruptcy Form 1007-6.1



                                   United States Bankruptcy Court
                                                District of Colorado


     In re     Evanson, Terry Lee & Evanson, Lynette Pearce                , Case No.
                       Debtor                                                Chapter    11


                           STATEMENT UNDER PENALTY OF PERJURY
                               CONCERNING PAYMENT ADVICES

              I*, Evanson, Lynette Pearce              , state as follows:

          I did not file with the court copies of some or all payment advices or other evidence of
   payment received within 60 days before the date of the filing of the petition from any employer
   because:

   Check applicable boxes:

         I was not employed during the period immediately preceding the filing of the
       above-referenced case,            (insert dates that you were not employed );

          I was employed during the period immediately preceding the filing of the above referenced
       case but did not receive any payment advices or other evidence of payment from my employer
       within 60 days before the date of the filing of the petition;

             I am self-employed and do not receive any evidence of payment from an employer;

             Other (please provide explanation):                                                 .

   I declare under penalty of perjury that the foregoing statement is true and correct

     Dated: May 24, 2013                  By:        /s/ Lynette Pearce Evanson
                                                     Signature of debtor
                                                     Lynette Pearce Evanson
                                                     Printed name of debtor
                                                                              10175 S Oneida St
                                                                              Littleton, CO 80124-9608
                                                     Home Address
                                                     Telephone number
                                                     Facsimile number
                                                     E-mail address




   *A separate form must be signed for each debtor
